       Case
B2100A (Form    18-16862-JNP
             2100A) (12/15)            Doc 53      Filed 09/26/20 Entered 09/26/20 18:25:56                        Desc Main
                                                   Document     Page 1 of 1
                                         UNITED STATES BANKRUPTCY COURT
                                             District of New Jersey (Camden)
IN RE:                                                                Case No.: 18-16862
Debtors: William J. Kistner and Debra C. Kistner                      Loan Number (Last 4):        0932


                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this evidence
and notice.
U.S. Bank Trust National Association as Trustee for               WILMINGTON SAVINGS FUND SOCIETY
GIFM Holdings Trust
Serviced by Select Portfolio Servicing, Inc.                      Fay Servicing, LLC
Name of Transferee                                                Name of Transferor

PO Box 65250                                                      Court Claim # (if known): 5
Salt Lake City, UT 84165                                          Amount of Claim:          $234,044.52
                                                                  Date Claim Filed:         06/08/2018

Phone: 1-800-258-8602                                             Last Four Digits of Acct #: 6205
Last Four Digits of Acct #: 0932

Name and Address where transferee payments should be sent (if different from above):
Select Portfolio Servicing, Inc.
Attn: Remittance Processing
PO Box 65450
Salt Lake City, UT 84165-0450

Phone:    1-800-258-8602
Last Four Digits of Acct #:   0932



I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
belief.


By:      /s/ John Shelley                                                                 Date:   09/25/2020
         InfoEx, LLC, as authorized filing agent
          (Approved by: Kiara Richardson)


Specific Contact Information:
Kiara Richardson - BK Specialist
Phone: 1-800-258-8602




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


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